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UNITED STATES DISTRICT CO`URT

 

 

 

DISTRICT OF MINNESOTA
COURT FILE NO.:

LORALYN DRONG,

Plaintiff, COMPLAINT
v.

JURY TRIAL DEMANDED

PORTFOLIO RECOVERY ASSOCIATES, LLC,

Defendant.

INTRODUCTION

l. This action arises from Defendant’s Violations of the Fair Debt Collection

Pi‘actices Act (“FDCPA” herein), 15 U.S.C. § 1692 et seq, and the Telephone
Consumer Protection Act (“TC_PA” herein), 47 U.S.C. § 227 et seq.

2. The term “consumer” as used in this Complaint has the meaning assigned to
it by Section 803(3) of the FDCPA, 15 U.S.C. § 1692a(3).

3. The term “debt” as used in this Complaint has the meaning assigned to it by
Section 803(5) of the FDCPA, 15 U.S.C. § 1692a(5).

4. . The term “automatic telephone dialing system,” as used in this Complaint,
has the meaning assigned to it by the TCPA, 47 U.S.C. § 227(a)(1).

J`URISDICTION AND VENUE

5. Jurisdiction of this Court arises under 28 U.S.C. § 1331 and pursuant to 15

U.S.C. § 1692k(d), and pursuant to 47 U.S.C. § 227, and pursuant to 28

U.S.C. § 1367 for pendent state law claims

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6. Venue is proper in this district because the acts and transactions occurred in
this district, Plaintiff resides in this district, and Defendant transacts business
in this district

PARTIES

7 . Plaintiff Loralyn Drong (hereinat`ter “Plaintift”), is a natural person residing
in the County of Sherburne, State of Min_nesota, and is a “consumer” as that
term is defined by Section 803(3) of the FDCPA, 15 U.S.C. § l692a(3),
and/or a person affected by a violation of the FDCPA With standing to bring
this claim under Section 803 of the FDCPA, 15 U.S.C. 1692k(a).

Defendant

8. Defendant Portfolio Recovery Associates, LLC (hereinafter “Defendant”), is
a Delaware Limited Liability Company With its principal place of business
located at 120 Corporate Boulevard, Suite 100, Norfolk, VA 235()2.

9. Defendant is a “debt collector,” as defined in Section 803(6) of the FDCPA,
15 U.S.C. § 1692a(6).

FACTUAL SUMMARY

10. Sometime prior to Noveinber 2012, upon information and belief, Plaintiff
allegedly incurred a financial obligation that upon information and belief Was
primarily for personal, family or household purposes, and is therefore a
“debt” as that term is defined by Section 803(5) of the FDCPA, 15 U.S.C. §

16923(5).

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11. Sometime thereafter, the alleged debt was consigned, placed or otherwise
transferred to Defendant for collection

12. At no time has Defendant validated the alleged debt to Plaintiff. Plaintiff has
received no letter of any sort from Defendant which might identify the
original creditor of the alleged debt

13. Plaintiff has no reason to believe Defendant possesses a legal right to collect
any alleged debt from Plaintiff.

14. On November 7, 2012, Defendant placed a call to Plaintiff‘s cellular
telephone Upon information and belief, Defendant used an automatic
telephone dialing system to place this call as Plaintiff heard a prolonged
delay before an individual began speaking

15. Plaintiff explicitly directed Defendant not to call her cellular telephone
Defendant responded that there was no legal requirement that Defendant
cease calling Plaintist cellular telephone Plaintiff responded by identifying
herself as having worked in the debt collection industry and indicated that
Defendant was incorrect

16. Plaintiff has in fact been employed as a collection agent for a debt collection
business

17. Upon information and belief, Defendant possesses no business relationship
With Plaintiff which authorizes Defendant to place calls to Plaintiff”s cellular

telephone using an automatic telephone dialing system

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18. Defendant possessed alternative working telephone numbers for contacting
Plaintiff. Throughout the time period described in this Complaint, Defendant
placed calls to Plaintiff' s home telephone

19. On November 17, 2012, at 8113 AM, Defendant placed a call to Plaintiff`s
cellular telephone Upon information and belief, Defendant used an
automatic telephone dialing system to place this call.

20. On November 21, 2012, at 11:13 AM, Defendant placed a call to Plaintiff’s
cellular telephone Upon information and belief, Defendant used an
automatic telephone dialing system to place this call.

21. On November 23, 2012, at 9:50 AM, Defendant placed a call to Plaintiff”s
cellular telephone Upon information and belief, Defendant used an
automatic telephone dialing system to place this call.

22. On November 29J 2012, at 8:11 AM, Defendant placed a call to Plaintiff’s
cellular telephone Upon information and belief, Defendant used an
automatic telephone dialing system to place this call.

23. On December 2, 2012, at 10;37 AM7 Defendant placed a call to Plaintist
cellular telephone Upon information and belief, Defendant used an
automatic telephone dialing system to place this call.

24. On December 3_, 2012J at 10:37 AM, Defendant placed a call to Plaintiff’ s
cellular telephone A voicemail message was left on Plaintiff` s cellular phone
in which there is a prolonged pause, ambient sounds of talking, and then a

woman’s voice says hello before the message ended Upon information and

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belief, Defendant used an automatic telephone dialing system to place this
call.

25. On December 11, 2012, at 2:11 PM, Defendant placed a call to Plaintiff`s
cellular telephone Upon information and belief, Defendant used an
automatic telephone dialing system to place this call.

26. On December 13, 2012, at 2:19 PM, Defendant placed a call to Plaintiff’s
cellular telephone Upon information and belief, Defendant used an
automatic telephone dialing system to place this call.

27. On December 20, 2012J at 12;06 PM, Defendant placed a call to Plaintiff’s
cellular telephone Upon information and belief, Defendant used an
automatic telephone dialing system to place this call.

28. On December 28, 2012, at 12:45 PM, Defendant placed a call to Plaintifr”s
cellular telephone Upon information and belief, Defendant used an
automatic telephone dialing system to place this call.

29. On January 7, 2013, at 12:21 PM, Defendant placed a call to Plaintiff’s
cellular telephone Upon information and belief, Defendant used an
automatic telephone dialing system to place this call.

30. On January 21, 2013, at 5:16 PM, Defendant placed a call to Plaintiff’s
cellular telephone Upon information and belief, Defendant used an

automatic telephone dialing system to place this call.

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31. On February 2, 2013, at 9:47 AM, Defendant placed a call to Plaintist
cellular telephone Upon information and belief, Defendant used an
automatic telephone dialing system to place this call.

32_ On February 6, 2013, at 9:40 Al\/l, Defendant placed a call to Plaintift’s
cellular telephone Upon information and belief, Defendant used an
automatic telephone dialing system to place this call.

33. On February 12_, 2013, at 2130 Pl\/l, Defendant placed a call to Plaintifi`s
cellular telephone Upon information and belief, Defendant used an
automatic telephone dialing system to place this call.

34. On February 16, 2013, at 2:16 PM, Defendant placed a call to Plaintiff’s
cellular telephone Upon information and belief, Defendant used an
automatic telephone dialing system to place this call.

35. On February 28, 2013, at 9:44 AM, Defendant placed a call to Plaintiff’s
cellular telephone Upon information and belief, Defendant used an
automatic telephone dialing system to place this call.

36. On l\/Iarch 4, 2013, at 9:47 AM, Defendant placed a call to Plaiiitist cellular
telephone Upon information and belief, Defendant used an automatic
telephone dialing system to place this call.

37. On March 21j 2013, at 9;48 Al\/l, Defendant placed a call to Plaintiff`s
cellular telephone Upon information and belief, Defendant used an

automatic telephone dialing system to place this call.

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38. Defendant placed at least twenty (20) calls to Plaintiff’s cellular telephone
Upon information and belief, an automatic telephone dialing system was used ~
to place each call.

39. Defendant’s calls to Plaintiff’s cellular telephone unlawfully interrupted
Plaintitfs privacy interest in being left alone

Violations of The Fair Debt Collection Practices Act

40. Defendant placed numerous calls to a cellular telephone number after being
explicitly instructed that the number was not convenient for the purpose of
discussing an alleged debt. Defendant is in violation of Section 805 of the
FDCPA, 15 U.S.C. § 1692c(a)(1).

41. To the extent that Defendant made statements to Plaintiff which assert or
imply Defendant’s legal right to continue calling Plaintiff”s cellular telephone
using an automatic telephone dialing system after being explicitly instructed
not to call the cellular telephone number, Defendant made false, deceptive or
misleading representations or means in connection with the collection of an
alleged debt, violating Section 807 of the FDCPA, 15 U.S.C. §§ 1692e,
16926(5), and 16926(10)

42. Plaintiff suffered actual damages under the FDCPA in the form of
sleeplessness, fear of answering the telephone and door, nervousness,
embarrassment when talking to or seeing friends and family, and negative
impacts on personal and professional relationships

Violations of The Telephone Consumer Protection Act

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43. The TCPA, 47 `U.S.C, § 227, is the federal law which regulates the purposes
for which automated voices and automated dialing systems may be used to
contact U.S. Citizens.

44. The TCPA states, in relevant part:

It shall be unlawful for any person within the
United States, or any person outside the United
States if the recipient is within the United States
(A) To make any call (other than a call made for
emergency purposes or made with the prior
express consent of the party called) using any
automatic telephone dialing system or an
artificial or pre-recorded voice . . . (iii) to any
telephone number assigned to a . . . cellular
telephone service . . , or any service for which
the called party is charged for the call. 47
U,S.C. § 227(b)(1)(A)

45. The TCPA creates a private right of action for the enjoinment of conduct win
violation of the TCPA, 47 U.S.C. § 227(b)(3)(A), and also “to recover. . .
$500.00 in damages for each such violation . . .” 47 U.S.C. § 227(b)(3)(B).

46_ Where a court finds that the Defendant willfully or knowingly violated the
TCPA, the court may “increase the amount of the award to an amount equal
to not more than 3 times the amount available under subparagraph (B).” 47
U.S.C. § 227(b)(3).

47. A consumer may elect to seek both enjoinment and statutory damages 47
U.S.C. § 227(b)(3)(C).

48. At all times relevant to the complaint herein, Defendant engaged and engages

in “telecoirnnunications” as defined by 47 U.S.C. § 153(50).

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49. At all times relevant to the complaint herein engages in “interstate
communications” as defined by 47 U.S.C. § 153(28).

50. At all times relevant to this complaint, Defendant used, controlled, and/or
operated “wire communications” that existed as instrumentalities of interstate
and intrastate commerce as defined by the TCPA 47 U.S.C. § 153(59).

51. At all times relevant to this complaint, the Defendant used, controlled, and/or
operated “automatic telephone dialing systems” as defined by the TCPA, 47
U.S.C. § 227(a)(1), and 47 C.F.R. 64.1200(f)(l).

52. During the four years immediately preceding the filing of this lawsuit,
Defendant placed numerous calls to Plaintiff" s cellular phone

53. Calls made by Defendant to Plaintiff’ s cellular phone were not made with the
prior express consent of Plaintiff.

54. Calls made by Defendant to Plaintiff’s cellular phone were not made for an
emergency purpose

55. Defendant knowingly and willfully violated the TCPA by placing calls to
Plaintiff”s cellular phone without seeking or receiving Plaintiff’s express
consent and with no reason to believe Defendant had Plaintiff’ s express
consent

56. Defendant LCS is in violation of 47 U.S.C. § 227(b)(1)(A). See Edeh v.
Mz'dland Credir Mgmt., 748 F. Supp. 2d 1030, 1038 (D. Minn. 2010).

Respondeat Superior Liability

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57. The acts and omissions of Defendant, and/or the other debt collectors
employed as agents by Defendant who communicated with Plaintiff- further
described herein~ were committed within the time and space limits of their
agency relationship with their principal, Defendant

58. The acts and omissions by Defendant and/or these other debt collectors were
incidental to, or of the same general nature as, the responsibilities these
agents were authorized to perform by~ Defendant in collecting consumer
debts

59. By committing these acts and omissions against Plaintiff, Defendant and
these other debt collectors were motivated to benefit their principal7
Defendant

60. Defendant is therefore liable to Plaintiff through the Doctrine of Respondeat
Superior for the intentional and negligent acts, errors, and omissions done in
violation of federal law by its collection employees, including but not limited
to violations of the FDCPA and Minnesota law, in their attempts to collect
this debt from Plaintiff.

Summmy

61. The above-detailed conduct by Defendant was a violation of numerous and

multiple provisions of the FDCPA, including but not limited to the provisions

of the FDCPA identified above

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62.

63.

64.

65.

66.

Defendant’s negligent and/or intentional acts resulted in the violation of
numerous provisions of federal law and resulted in actual damages to the
Plaintiff.
TRIAL BY JURY

Plaintiff is entitled to and hereby respectfully demands a trial by jury. U.S.
Const. amend 7. Fed.R.Civ.P. 38.

CAUSES ()F ACTION

COUNT I
VIOLATIONS OF THE
FAIR DEBT COLLECTION PRACTICES ACT

15 U.S.C. § 1692 et seq.
Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein
The foregoing acts and omissions of Defendant and its agents constitute
numerous and multiple violations of the FDCPA including, but not limited to,
each and every one of the above-cited provisions of the FDCPA, 15 U.S.C. §
1692 et seq., with respect to Plaintiff.
As a result of Defendant’s violations of the FDCPA, Plaintiff is entitled to
actual damages pursuant to 15 U.S.C. § 1692k(a)(l); statutory damages in an
amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and

reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 16921<(21)(3),

from Defendant herein

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COUNT H.
VIOLATIONS OF THE TELEPHONE CONSUMER
PROTECTION ACT
47 .S.C. § 227 et seq.

67 . *Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein

68. Defendant made numerous calls to the Plaintist cellular telephone
service using an automatic telephone dialing system in violation of the
TCPA, 47 U.S.C. § 227(b)(1,)(A)(iii), and 47 C.F.R. 64.1200 (a)(l)(iii).

69. The acts and omissions of Defendant were performed unfairly,
unlawf`ully, intentionally, deceptively and absent bona fide error, lawful
right, legal defense legal justification or legal excuse

70. As a causally-direct and legally proximate result of the above violations
of the TCPA, Defendant caused Plaintiff to sustain damages

71. Defendant did not have the prior express consent of Plaintiff to use an
automatic telephone dialing system to call the Plaintiff’ s cellular
telephone

72. Defendant made such calls willfully, and in direct contradiction to the
Plaintiff’s November 7, 2012, verbal demand to cease and desist calling
his cellular telephone

73. Defendant’s conduct, as described herein, left Plaintiff in a state of

helplessness and victimization as the persistent and intrusive campaign

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of auto-dialed calls to Plaintiff eliminated the peace and solitude
Plaintiff would otherwise have had. Defendants conduct constituted an
unauthorized use of and interference with Plaintiff"' s cellular phone
service for which Plaintiff paid money.

74. Under 47 u.s_c. seetien 227(b)(3)(e), the Pietnttrr is entitled te
statutory damages of $500.00 per phone call made to Plaintiff.

75. Defendant willfully and knowingly violated the TCPA, and as such the
Plaintiff is entitled to $1,500.00 per phone call made to Plaintiff in
willful and knowing violation of the TCPA, pursuant to the 47 U.S.C.
Section 227(b)(3).

76. Plaintiff is entitled to injunctive relief prohibiting Defendant from
contacting Plaintiff’s cellular phone by use of an automated dialing
system, pursuant to the 47 U.S.C. Section 227(b)(3)(a).

PRAYER FOR RELIEF
WHEREFORE, Plaintiff prays that judgment be entered against Defendant:
CGUNT I
VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES
ACT
15 U.S.C. § 1692 et seq.
7 7. For an award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against

Defendant and for Plaintiff;

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78. For an award of statutory damages of $1,000.00 pursuant to 15 U.S.C.
§16921<(a)(2)(A) against Defendant and for Plaintiff; and

79. For an award of costs of litigation and reasonable attorney’s fees pursuant to 15
U.S.C. § 1692k(a)(3) against Defendant and for Plaintiff.

COUNT H.
VIOLATIONS OF THE TELEPHONE CUNSUMER PROTECTION
ACT
47 U.S.C. §227 et seq.

80. For an award of statutory damages of 8500.00 per call pursuant to 47
U.S.C. Section 227(b)(3)(B) against Defendant and for Plaintiff;

81_ For an award of treble damages of $1,500.00 per call pursuant to 47
U.S.C. Section 227(b)(3) against Defendant and for Plaintiff;

82. For an injunction prohibiting Defendant from contacting Plaintiff’s
cellular phone using an automated dialing system pursuant to the 47

U.S.C. Section 227(b)(3)(a);

83. For such other and further relief as may be just and proper.

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Dated: May 1, 2013

Respectfully submitted,

MARTINEAU, GONKO & VAVRECK, PLLC

s/ Mark L. Vavreck
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VERIFICATION OF COMPLAINT AND CERTIFICATION BY PLAINTIFF

STATE OF l\/HNNESOTA )
) ss
COUNTY OF SHERBURNE )

LORALYN DRONG, having first been duly sworn and upon oath, deposes
and says as follows:

l. 1 am a Plaintiff in this civil proceeding

2. l have read the above-entitled civil Complaint prepared by my attorneys and I‘
believe that all of the facts contained in it are true, to the best of my knowledge
information and belief formed after reasonable inquiry

3. l believe that this civil Complaint is well grounded in fact and warranted by
existing law or by a good faith argument for the extension, modification or
reversal of existing law.

4. l believe that this civil Complaint is not interposed for any improper purpose,
such as to harass any Defendant, cause unnecessary delay to any Defendant, or
create a needless increase in the cost of litigation to any Defendant, named in the
Complaint

5. 1 have filed this civil Complaint in good faith and solely for the purposes set
forth in it.

6. l have provided my attorneys with true and correct copies of each and every
exhibit, which has been attached to this Complaint

7. Except for clearly indicated redactions made by my attorneys where appropriate
I have not altered, changed, modified, or fabricated the attached exhibits, except
that some of the attached exhibits may contain some of my own handwritten
notations

5/ &5'¢?.4»~ % Q{/e/LS,
LORALYN DRONG
Subscribed and sworn to before me

this lS: day of 2013

NlCOl.‘E ASHLEY BUNDROCK
v \ NOTARYPUBUC~MINNESOTA

Notary Public\/

 

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